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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                        §
    MARANDA LYNN ODONNELL, et al.       §
                                        §
                  Plaintiffs,           §
                                        §
   v.                                   §   Case No. 4:16-cv-01414
                                        §   (Consolidated Class Action)
   HARRIS COUNTY, TEXAS, et al.         §   The Honorable Lee H. Rosenthal
                                        §   U.S. District Judge
                  Defendants.           §
                                        §


         HARRIS COUNTY DEPUTIES’ ORGANIZATION, FOP #39
                STATEMENT OF INTENT TO APPEAR

        Pursuant to this Court’s Oct 14th order [Doc. 662], the Harris County

Deputies’ Organization, FOP #39, Amicus Curiae, is filing its intent to appear and

seeks permission to address this Court. J. Marcus Hill, attorney, will address the

Court on behalf of the Harris County Deputies’ Organization, FOP #39, as its

representative.

                                     /s/ J. Marcus Hill
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                         CERTIFICATE OF SERVICE

      I hereby certify that on the 21st day of October 2019, I electronically filed the

foregoing with the Clerk of the Court for the United States District Court for the

Southern District of Texas, using the electronic case filing system of the Court. The

electronic case filing system is instructed to send a “Notice of Electronic Filing” to

the attorneys of record who have consented in writing to accept this Notice as service

of this document by electronic means.

                                        /s/ J. Marcus Hill




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